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 UNITED STATES BANKRUPTCY COURTPg 1 of 2
 SOUTHERN DISTRICT OF NEW YORK
 QIBNY038
 IN RE:                            Chapter: 13

 SEAN STEPPE                       Case No. 17-23006 RDD

        Debtor(s).
                                   HEARING: December 13, 2017


             OBJECTION TO THE CONFIRMATION OF DEBTOR'S PLAN


        I, JONATHAN C. SCHWALB, ESQ., do hereby certify as follows:

        1.   I am an attorney at law of the State of New York

associated with the law firm of FEIN, SUCH & CRANE LLP, attorneys

for BAYVIEW LOAN SERVICING, LLC,, (the “Secured Creditor” herein),

and I am fully familiar with the facts and circumstances of the

within matter.

        2.   Secured Creditor objects to the confirmation of Debtor(s)

plan for the following reasons:

             (a)   Secured    Creditor    holds     the   first    mortgage     on

Debtor's residence which is located at 146 BEECHWOOD AVENUE, MOUNT

VERNON, NY 10553.        As of the date of the bankruptcy filing,

Debtor(s) were in default on the terms of the Note and Mortgage.

Total    arrears   due   to   Secured    Creditor    through      the   plan   are

estimated at $83,724.57. A proof of claim will be filed with the

Court.

             (b)   Debtor(s) proposed plan provides for the payment of

arrears in the amount of $68,900.00 to Secured Creditor. Debtor(s)

proposed plan is insufficient in that it understates the amount of

arrears owed to Secured Creditor that is required to be cured

through the Plan.        Absent a modification by the Debtor(s) to
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 include the correct amount Pg     of 2 of 2
                                        arrears,   this plan cannot be

confirmed.

             Furthermore,    Secured   Creditor   objects   to   Debtor(s)

confirmation in that if the Debtor(s) are post-petition delinquent

at confirmation and Debtor(s) case is dismissed then any excess

funds that the Chapter 13 Trustee is holding should be released to

the Secured Creditor.       Absent the release of such excess funds in

the possession of the Trustee, Secured Creditor is substantially

harmed as the Debtor(s) have enjoyed the benefit of the automatic

stay to the detriment of Secured Creditor. Absent such language in

the Order of Confirmation, confirmation of Debtor(s) plan must be

denied.

        3.   For the reasons stated above, and for any others that the

Court deems fit to adopt, Secured Creditor respectfully objects to

Debtor(s) plan and the confirmation thereof.



        I hereby certify that the foregoing statements made by me are

true.    I am aware that if any of the foregoing statements made by

me are wilfully false, I am subject to punishment.



Dated:       October 11, 2017

                              FEIN, SUCH & CRANE LLP
                              Attorneys for Applicant

                       By:    /S/ JONATHAN C. SCHWALB, ESQ.

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